Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg1of7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

DENVER DIVISION iS
UNITED STATES DISTRICT COURT
Civil Action No. DENVER. COLORADO UR"
JUL 01 2022
DANIEL P. RICHARDS, JEFFREY B COLWELL
CLERK

a resident of the State of Washington,

Plaintiff/Pro Se,

Vv.

LOCKHEED MARTIN CORPORATION D/B/A LOCKHEED
MARTIN SPACE, a corporation headquartered in and organized under
the laws of the State of Maryland,

Defendant.

COMPLAINT
Plaintiff alleges as follows:

I. The Parties to This Complaint

A. The Plaintiff(s)

Name Daniel P. Richards

Street Address 3 Olive Dr Apt 2

City and County Cathlamet, Wahkiakum County
State and Zip Code Washington, 98612

Telephone Number 360-431-0240

E-mail Address daniel.p.richards@protonmail.com

B. The Defendant(s)
Name LOCKHEED MARTIN CORPORATION D/B/A LOCKHEED MARTIN

SPACE
Job or Title (if known) Employer of Plaintiff
Street Address 6801 ROCKLEDGE DRIVE
City and County BETHESDA, MONTGOMERY COUNTY
State and Zip Code MARYLAND 20817

Telephone Number unknown
Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg 2of7

C. Place of Employment
The address at which I sought employment or was employed by the defendant(s) is:

Name: LOCKHEED MARTIN CORPORATION D/B/A LOCKHEED MARTIN
SPACE

Address: 12257 S. Wadsworth Blvd
City/Co.: Littleton, Arapahoe County
State/Zip: Colorado, 80127

Telephone: (303) 977-3000

NATURE OF THE ACTION

This action is brought by DANIEL P. RICHARDS, the (hereinafter
“Plaintiff”),against LOCKHEED MARTIN CORPORATION D/B/A LOCKHEED
MARTIN SPACE (hereinafter collectively “Defendants”) generally under the
“Americans With Disabilities Act”; the “False Claims Act”; the NDAA Act;
and th Colorado Americans With Disabilities Act”; such action being further
particularized as also being an action to enforce the statutory and regulatory
provisions of Title I of the Americans with Disabilities Act (“ADA”), 42
U.S.C. § 12111 et seq., which incorporate, through 42 U.S.C. § 12117(a),
the powers, remedies, and procedures set forth in Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000¢ et seq.

JURISDICTION AND VENUE

1. This Court has jurisdiction over this action under 42 U.S.C. §§
12117(a) and 2000e- 5(f), and 28 U.S.C. §§ 1331 and 1345. This
Court has authority to grant a declaratory judgment pursuant to
28 U.S.C. §§ 2201 and 2202, and authority to grant equitable relief
and monetary damages, attorneys fees and costs pursuant to 42
U.S.C. § 12117 and 42 U.S.C. § 1981a, and such further relief as is
set forth infra.
Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg 3of7

2. Venue is proper in this district under 28 U.S.C. § 1391(b)
because: (1) all Defendant conducts business in the District of
Colorado; and (2) the events and omissions giving rise to the claims
alleged in this Complaint occurred in the District of Colorado; and as
further specified infra.

FACTUAL ALLEGATIONS

Plaintiff Daniel P. Richards was employed by Defendant Lockheed Martin at all times
material hereto (June 1, 2015 through and continuing until March 24, 2021).

The DISMISSAL AND NOTICE OF RIGHTS, was received by Plaintiff Daniels Apr
4, 2022; accordingly this complaint is timely filed.

During Mr. Richards employment at Lockheed Martin Space (“LMCO” or “Lockheed”
or “the Corporation”) from June 2015 and until his departure on March 24, 2021, Mr.
Richards was the victim of anti-Veteran harassment, was discriminated against for his
protected Veteran status (which created a hostile work environment for he and his
fellow Veteran coworkers) and was further discriminated against for his deployment-
related disabilities. Furthermore, Mr. Richards was consistently denied the
opportunity to implement changes and improvements to the workforce. Mr. Richards
was also denied disability accomodations despite Lockheeds awarcness of his
disability. Mr. Richards was subject to violations of the Americans with Disabilities
Act (“ADA”), the Colorado Anti-Discrimination Act (““CADA”), the False Claims
Act (“FCA”), and the National Defense Authorization Act (“NDAA”), in addition to

harassment, hostile work environment and wrongful discharge.

Regarding disabilities, Mr. Richards suffers from multiple ailments including but not

limited to “acute compartment syndrome” (“ACS”) which limits his ability to walk.
Additionally, Mr. Richards has also been diagnosed with insomnia and back issues, as
well as tinnitus. Lockheed was aware of Mr. Richards’ ACS diagnosis. Specific
examples of violations suffered by Mr. Richards at the hands of Lockheed include but

are not limited to:
Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg 4of7

1. At one point Mr. Richards complained to a supervisor about the amount of walking
he had to do for his support role, to which Lockheed replied, “you chose the wrong
role for your issues.” Mr.Richards even asked to be reassigned to another role, in an
effort to be reasonably accommodated for his disability, and Lockheed did not

respond.

2. Mr. Richards was removed and excluded from supervisor meetings, projects, and
email chains whenever one of the associate managers was included. Similarly, Mr.
Richards was intentionally kept in the dark whenever defect data and tracking systems
were involved.

Mr. Richards was removed and excluded from supervisor meetings, projects, and
email chains whenever one of the associate managers was included. Similarly, Mr.
Richards was intentionally kept in the dark whenever defect data and tracking systems

were involved.

3. A supervisor at one point stated to a coworker, “I hate Vets, they took the easy way
out,” with regard to Veterans achieving any success for themselves — not knowing

that this coworker was himself a veteran and associate of Mr. Richards.

4. In another instance, a supervisor bragged about getting a fellow coworker sent to
the basement for “pointing out issues” and told Mr. Richards, “I know David [Braley]
isn’t a Vet, but we’re going to treat him like one (laughs). This is why I got him
assigned to the basement and out of the way. Keep it up and you will end up down

here next.”.

5. Another example of discriminatory treatment is the fact that Mr. Richards was
asked to submit weekly action reports (“WARs”) more often and consistently than
other employees so that his manager could keep up with all of his projects. Mr.
Richards did comply for a while until he noticed that his work projects would
disappear without explanation and those coworkers tasked with working with him
would soon after stop communicating with him,“freezing” him out and making his job

significantly more difficult.

6. A non-Veteran coworker of Mr. Richards, named Nathan Campbell, was promoted
Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg 5of7

to Engineer before he even completed his college degree and was promoted a second
time only one (1) year later to a supervisor position. Mr. Richards has over six (6)
years’ experience on the job but, seemingly because of his Veteran status, he was

passed over time and again for promotions and other employment opportunities.

7. By 2021, Mr. Richards reasonably felt that harassment by a supervisor (Mr.
Morgan) had risen to a level creating an extremely hostile work environment and so
he reported the discriminatory treatment to Lockheed’s Ethics and HR departments; in
response to these reports, Lockheed did nothing to aid Mr. Richards and ignored all of
his requests for assistance.

8. Mr. Richards had been prevented from moving up in Lockheed since 2018, wherein
he submitted approximately one hundred (100) applications to local and out-of-state
positions within Lockheed in 2020 but never once was offered an interview or heard
anything back. Later, Mr. Richards discovered that a supervisor (Mr. Maleski) was

intentionally blocking his applications in a disgusting abuse of authority.

The discriminatory conduct of which I complain in this action
includes:

1,) Termination of my employment.

2.) Failure to promote me.

3.) Failure to accommodate my disability.

4.) Unequal terms and conditions of my employment.
5.) Retaliation.

6.) Harassment

It is my best recollection that the alleged discriminatory acts
occurred:

June 1, 2015 through and continuing until March 24, 2021 and

continuing.

Exhaustion of Federal Administrative Remedies

Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg 6of7

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity
Commission or my Equal Employment Opportunity counselor regarding the defendant's
alleged discriminatory conduct on a date sufficient to preserve all of my legal rights, and
such complaint has yielded the tender of a DISMISSAL AND NOTICE OF RIGHTS
from the EEOC in Charge No: 531-2022-01431 which states:
“NOTICE OF YOUR RIGHT TO SUE This is official notice from the EEOC
of the dismissal of your charge and of your right to sue. If you choose to file a
lawsuit against the respondent(s) on this charge under federal law in federal or
state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of
this notice. Receipt generally occurs on the date that you (or your
representative) view this document. You should keep a record of the date you
received this notice. Your right to sue based on this charge will be lost if you
do not file a lawsuit in court within 90 days. (The time limit for filing a

lawsuit based on a claim under state law may be different.)”

THIS NOTICE IS ATTACHED AS EXHIBIT “A”.

CLAIM FOR RELIEF

REMEDIES AND DAMAGES SOUGHT ON ALL CLAIMS LISTED ARE
RIPE AND DAMAGES ARE ALL CONTINUING TO ACCRUE. THESE
DAMAGES AND REMEDIES FOR ALL CLAIMS ARE ITEMIZED BELOW:

1.) Back pay, including but not limited to payment since termination, the loss of
additional wages during my time of employment causally related to the employer
discrimination tantamount to stonewalling promotions and additional income

earning ability;

2.) Front pay: income I would have earned in the future had the employer not

discriminated against me;

3.) Compensatory damages: emotional distress, medical expenses, pain and

suffering;
Case No. 1:22-cv-01640-CNS-MDB Document 1 filed 07/01/22 USDC Colorado pg /7of7

4.) Consequential damages: costs associated with securing employment after my

(wrongful) termination;
5.) Punitive damages: up to the maximum allowable pursuant to law;

6.) Attorney’s fees;
7.) Costs of litigation.

8.) Such other and further relief as this Court deems just and proper.

Dated: June 29, 2022
Respectfully submitted,

EZ LEE

PLAINTIFF/Pro Se

Daniel P. Richards

3 Olive Dr Apt 2

Cathlamet, Wahkiakum County
Washington, 98612

\360-43 1-0240
datiiel.p.richards@protonmail.com

